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 7
                              IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9   JOHNNY B. DELASHAW, JR.,
                                                         Case No.
10
                             Plaintiff,
11                                                       COMPLAINT FOR LIBEL, DEFAMATION BY
                 v.                                      IMPLICATION, TORTIOUS INTERFERENCE
12                                                       WITH BUSINESS RELATIONSHIP AND/OR
     SEATTLE TIMES COMPANY, and                          EXPECTANCY, UNFAIR BUSINESS
13   CHARLES COBBS,                                      PRACTICES IN VIOLATION OF RCW 19.86
                                                         ET SEQ. AND CIVIL CONSPIRACY
14                           Defendants.
15
                                               I.    INTRODUCTION
16
            1.        In early 2017, the Seattle Times (Times) published a series of sensational articles
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     attacking the quality of patient care at the Swedish Neurosurgical Institute (SNI), a practice group
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     within Swedish Health Services d/b/a Swedish Medical Group (Swedish), and accusing Dr. Johnny
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     Delashaw and other SNI surgeons of endangering patients by racing through surgeries in order to
20
     make more money.
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            2.        These claims were false. The main factual assertions in these articles, and the overall
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     thesis and message conveyed by the articles, were false, defamatory and caused serious damage to
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     the reputation and career of Dr. Johnny Delashaw, injured patients who needed his care, and
24
     damaged the quality of health care in the Pacific Northwest. The Times was in possession of highly
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 1   credible information demonstrating the falsity of its statements but chose to omit even a hint of the

 2   compelling, documented facts showing that its claims about SNI and Dr. Delashaw were false.

 3          3.      In its articles, the Times claimed that at the time of the articles and for many months

 4   before them, Dr. Delashaw was paid based on the volume of surgeries he performed and that, for

 5   this reason, Dr. Delashaw had neglected his patients by performing “concurrent surgeries.” The

 6   term “concurrent surgeries” refers to a single lead surgeon running two surgeries at the same time,

 7   leaving one operating room in mid-operation to go to another. The article claimed that the result of

 8   this practice was that the lead surgeon was absent from at least one if not both surgeries during

 9   critical times, endangering patients. The Times asserted that Dr. Delashaw was engaging in these

10   dangerous practices at the time of publication and for many months before and was placing patients

11   at risk. The Times claimed that Dr. Delashaw’s “concurrent surgery” practice included leaving the

12   operating room as soon as the patient was under anesthesia and then moving to the next operation,

13   resulting in increased complications and a general decline in the actual outcomes for patients treated

14   by Dr. Delashaw and other surgeons at SNI.

15          4.      Each of these claims is false. The Times’ claimed “motive” for the concurrent

16   surgeries alleged to be taking place during the period before the articles were published was that Dr.

17   Delashaw was paid based on volume. But for nearly two years before the Times went to print, Dr.

18   Delashaw was on salary. He had no financial incentive to increase his surgical volume.

19          5.      The claim that, because Dr. Delashaw was paid based on volume, “concurrent

20   surgeries” were taking place at SNI is also false. There were no concurrent surgeries. An extensive

21   Washington State Department of Health investigation that included scores of interviews of

22   knowledgeable witnesses found that the Times’ claim that SNI was engaging in “concurrent

23   surgeries” was not true.

24          6.      The Times claimed that its “findings” were the product of an “investigation,” but in

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 1   fact the Times’ claims would not have survived an actual “investigation.”1

 2           7.     The Times had in its possession highly credible information from an eyewitness to

 3   hundreds of Dr. Delashaw’s surgeries clearly showing that its claims were false, but the Times chose

 4   not even to acknowledge the existence of this information.             The Times’ approach to its

 5   “investigation” was to omit any information that did not fit the accusations it was determined to

 6   make.

 7           8.     The Times tried to bolster its basic thesis that Dr. Delashaw raced through concurrent

 8   surgeries, endangering patients, by also claiming that SNI had been experiencing poor patient

 9   outcomes when matched against comparable neurosurgical institutions. But objective data show

10   that, during the period covered by the Times articles, SNI maintained its standing as a high quality

11   neurosurgical institution with outcomes and quality of care as good as, or better than, comparable

12   institutions. SNI achieved this high quality of care while expanding its volume of surgeries, which,

13   in the case of Dr. Delashaw, involved many surgeries at the highest level of difficulty and risk. The

14   Times turned the truth—a major local neurosurgical achievement—into a malicious fiction.

15           9.     The Times committed the very sins it purported to uncover: in an effort to generate

16   readers via sensational press, the Times sacrificed truth for accuracy, leveling catastrophic blows on

17   Dr. Delashaw, his reputation, his finances, and his patients. Dr. Delashaw, the medical community

18   in Seattle, and patients here and across the country who needed (and still need) Dr. Delashaw’s

19   attention continue to suffer the consequences of the Times’ knowingly false reporting.

20                                               II.    PARTIES

21           10.    Plaintiff Dr. Johnny B. Delashaw, Jr., is a citizen of the state of Arizona, residing in

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     1
       Attached as Appendix A is a collection of eyewitness statements from the MQAC
23   proceeding. These include statements from 45 individuals based on their personal interactions
     with Dr. Delashaw. These are representative of Dr. Delashaw’s character and approach to patient
24   care and also consistent with information that was provided to, but disregarded by, the Times’
     reporter before the Times’ series went to print.
25
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 1   Sedona, Arizona. Dr. Delashaw was employed at SNI from fall 2013 through March 1, 2017.

 2           11.         Defendant Seattle Times Company is a privately owned business incorporated in

 3   Delaware with its primary place of business at 1000 Denny Way, Seattle, Washington, 98109.

 4           12.         Defendant Dr. Charles Cobbs is a citizen of the state of Washington, residing in

 5   Mercer Island, Washington. He is currently employed at SNI.

 6                                      III.    JURISDICTION AND VENUE

 7           13.         This Court has jurisdiction over the subject matter of this dispute pursuant to 28

 8   U.S.C. § 1332 because this is an action between citizens of different states and because the matter

 9   in controversy exceeds the sum of $75,000 exclusive of interest and costs.

10           14.         This Court has personal jurisdiction over Defendants because each Defendant is

11   licensed to and regularly does conduct business in Washington and the unlawful conduct alleged in

12   this Complaint occurred in Washington.

13           15.         Venue is proper in the United State District Court for the Western District of

14   Washington pursuant to 28 U.S.C. § 1391(a) and (c). Each Defendant has continuous and systematic

15   contacts with this District and a substantial part of the events giving rise to Plaintiff’s claims occurred

16   in this District.

17                                        IV.    FACTUAL ALLEGATIONS

18   A.      Dr. Delashaw’s Medical Credentials

19           16.         Dr. Delashaw was raised in Longview, Washington. He earned his Bachelor of

20   Science degree in Biology with honors and distinction from Stanford University, and earned a

21   medical degree from the University of Washington School of Medicine. He completed his residency

22   at the University of Virginia under Dr. John Jane, who was a world-renowned neurosurgeon, a

23   President of the Society of Neurological Surgeons, and a close mentor of Dr. Delashaw until Dr.

24   Jane’s death in 2015.

25           17.         Immediately before going to SNI, Dr. Delashaw was the chief of neurological surgery
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 1   for University of California, Irvine Health, where he played an important role in building a facility

 2   widely recognized for excellence in treating spine problems. He pioneered a national surgical

 3   referral network for cranial disease. He served as Chairman of the Department of Neurological

 4   Surgery at UC Irvine’s School of Medicine.

 5          18.     Before going to UC Irvine, Dr. Delashaw spent twenty years at Oregon Health &

 6   Science University (OHSU), where he held the positions of chief of Neuro-Oncology and Skull Base

 7   Surgery and professor of Neurological Surgery, Otolaryngology and Neurology. During his decades

 8   at OHSU, Dr. Delashaw traveled once a week to see patients in his hometown of Longview,

 9   Washington, where friends and neighbors still lived and in the town where his father had been a

10   doctor. He resumed this practice after joining SNI—weekly he and his staff drove five hours round

11   trip from Seattle to Longview, arriving in Longview at 8 a.m., where he saw patients all day before

12   driving back to Seattle and then, where necessary, arranged for treatment for his patients at SNI. Dr.

13   Delashaw also saw a need for improved neurosurgical treatment in remote areas of Alaska, opened

14   a clinic there, and while at SNI traveled there to see patients, and then arranged for patients in need

15   of surgery to be treated at SNI.

16          19.     At the beginning of his career, Dr. Delashaw served as the chief of Neurosurgery at

17   Gainesville Veteran’s Administration Hospital, and later became an assistant professor of

18   Neurological Surgery at the University of Florida.

19          20.     In the spring of 2013, SNI set out to recruit Dr. Delashaw, who was then at UC Irvine,

20   because of his exceptional surgical skills, his recognition in the profession for those skills, and his

21   record of developing new highly effective surgical techniques. SNI was also very interested in the

22   wide referral base Dr. Delashaw enjoyed as a result of professional recognition of his skills and

23   methods.

24          21.      Dr. Delashaw initially declined SNI’s offer but a few months later was persuaded to

25   accept, in part because of the unique opportunity SNI presented for new ways to achieve cures—
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 1   combining advanced surgical skills and surgical improvements with previously untapped

 2   technological advances. Seattle and SNI represented the potential to blend surgical innovation with

 3   technological innovation to cure the previously incurable.

 4          22.     SNI had begun in 2004 with the goal of developing into a cutting edge neurosurgical

 5   institution in the Pacific Northwest. Eight years later, in 2012, SNI and Swedish became part of

 6   Providence St. Joseph Health (Providence), a non-profit health care provider consisting of about 50

 7   hospitals and hundreds of clinics in Washington, Alaska, California, Oregon, Montana, New

 8   Mexico, and Texas. In April 2013, Dr. Rod Hochman, the former CEO of Swedish, became

 9   President and CEO of Providence.

10          23.     Providence’s acquisition of Swedish immediately expanded SNI’s referral network

11   and potential patient base.

12          24.     Providence and Swedish recruited Dr. Delashaw with the expectation that his

13   considerable skills and the high regard in which he was held among other neurosurgeons would help

14   to transform SNI into a mecca for advanced neurosurgery. Dr. Marc Mayberg, then the Co-Director

15   of SNI, advocated recruiting Dr. Delashaw and helped to persuade him to come to Seattle.

16          25.     Dr. Delashaw joined SNI in October 2013, and performed as expected. He was a

17   major force in transforming SNI from a good community hospital into a nationally recognized center

18   of neurosurgical excellence. Dr. Delashaw’s reputation coupled with his referral base helped SNI

19   to attract other top-flight surgeons. The resulting team increased SNI’s capabilities and recognition,

20   leading to increases in surgical patient volume and a high quality of care.

21          26.     When SNI first offered Dr. Delashaw a position in about March 2013, he declined.

22   Then, in May 2013, Dr. Mayberg renewed the effort. Dr. Mayberg told Dr. Delashaw that if he

23   joined SNI, he would have a leadership role. Dr. Mayberg had just been diagnosed with cancer,

24   believed he would probably need to step down as Co-Executive Director of SNI, and was interested

25   in finding a highly qualified neurosurgeon capable of leading SNI.
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 1          27.     Dr. Delashaw joined SNI in October 2013.

 2          28.     After Dr. Delashaw’s arrival, SNI expanded both its volume of work and its

 3   capabilities in large part as a result of Dr. Delashaw’s reputation and hard work. Dr. Delashaw

 4   attracted other highly qualified neurosurgeons to join SNI, expanding SNI’s capabilities, which in

 5   turn led to increased referrals and increasing recognition of SNI as a center capable of handling the

 6   most difficult cases.

 7   B.     Dr. Delashaw Joined SNI at a Time of Significant Internal Change

 8          29.      The changes that accompanied, and in part resulted from, Dr. Delashaw’s joining

 9   SNI created some turmoil among certain doctors, nurses, and staff who resented the loss of the more

10   relaxed atmosphere they had previously enjoyed at a community hospital. The affiliation with the

11   health care giant Providence also created friction. The increased pace and intensity of work that

12   resulted from SNI’s increased capabilities bothered some. Dr. Delashaw gradually became aware

13   of these personnel problems.

14          30.     Dr. Mayberg continued to be active and was recovering from his cancer. Dr.

15   Mayberg’s compensation at the time Dr. Delashaw joined SNI was based in part on a pooling system

16   for Relative Value Units (RVUs)—meaning that revenue generated by other surgeons’ work was

17   allocated in part to Dr. Mayberg. When Dr. Delashaw was made a Providence employee, it was

18   unclear whether his RVUs would be added to the pool. Dr. Mayberg wanted Dr. Delashaw’s RVUs

19   added to the pool, which would have redounded to Dr. Mayberg’s financial benefit—i.e., he would

20   receive financial credit for work done by Dr. Delashaw.

21          31.     Dr. Delashaw had a work ethic that was uncommon at SNI in the past though he was

22   soon joined by others with a similar approach. Dr. Delashaw had high energy, and worked intensely

23   at his surgical practice, at pursuing his goals for SNI, at implementing new techniques, and at

24   bringing in new, very capable surgeons. Dr. Delashaw worked longer days and scheduled earlier

25   surgeries than had previously been standard practice. In the meantime, Dr. Mayberg was recovering
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 1   and had determined that he could maintain his leadership role, and took over sole leadership of SNI.

 2   Dr. Mayberg’s administrative salary combined with his surgery income (including his participation

 3   in a compensation pool at SNI) yielded him a $1.16 million income even though he performed fewer

 4   surgical procedures than many. The compensation pool allowed surgeons who were not actually

 5   performing surgical work on a patient to be paid a portion of the fees generated by those who did

 6   perform the surgeries.

 7           32.      Dr. Mayberg had expected that Dr. Delashaw would bring SNI many additional

 8   patients, but Dr. Mayberg did not take steps to prepare the hospital or its staff for increased volume.

 9   This failure led to some staff resenting the changes in ways that might have been avoided with better

10   planning by Dr. Mayberg. This leadership failure aggravated the resentment some SNI personnel

11   felt over the increased pace of work.

12           33.     At the time of Dr. Delashaw’s arrival at SNI in 2013, about five hospitals and seven

13   emergency rooms in greater Seattle were sending cases to SNI. During 2014, SNI was starting to

14   attract increasing numbers of patients from the Pacific Northwest, the greater West and to some

15   extent from across the United States. This trend continued into 2015 and 2016. Between 2010 and

16   2015, patient volume grew 66%.

17           34.     By 2016, SNI was the referral center for approximately forty hospitals across five

18   states in the Northwest region and, especially for very difficult cases, for hospitals in other regions.

19   This change was driven mainly by the high quality of SNI’s work.

20           35.     SNI’s patient volume increase was also driven by a sharp increase in the number of

21   other hospitals referring difficult cases to SNI—which was also in part the result of the exceptional

22   capabilities of SNI’s surgeons. This growth was augmented by SNI’s affiliation with Providence

23   and by the Affordable Care Act’s extension of insurance coverage to a large new segment of sick

24   patients.

25           36.     By 2016, the vision that had led SNI to recruit Dr. Delashaw, and that had led Dr.
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 1   Delashaw to come to SNI, was being realized. The SNI achievement was part of a broader

 2   accomplishment brought about by some of Seattle’s leading citizens and physicians to improve

 3   neuroscience techniques, to combine them with technological advances, and to communicate the

 4   results around the world. That commitment centered on SNI and also on the non-profit Seattle

 5   Science Foundation (SSF). In 2007, a handful of people who saw the potential to blend technology

 6   with neurosurgery formed SSF to advance collaboration between patient care providers and

 7   technologists. By 2016, SSF had grown to worldwide recognition both for its scientific/medical

 8   research and development work and for its extraordinary achievement in communicating new

 9   surgical techniques to skilled surgeons around the world.        SSF had developed systems for

10   transmitting real time demonstrations of surgical techniques to scores of surgeons in remote

11   locations. Instead of a highly skilled (and needed) surgeon spending five days traveling round trip

12   to (for example) Tokyo to demonstrate a new technique to half a dozen surgeons, the same person

13   could spend a few hours performing the technique in Seattle while high-quality real-time video and

14   audio were transmitted to Tokyo and other places around the world, observed by dozens of surgeons.

15   It was this kind of opportunity to blend neurosurgical advances with technology that had persuaded

16   Dr. Delashaw to leave Southern California and come to Seattle.

17          37.    While Dr. Delashaw and others were working to modernize and expand SNI to

18   become a nationally recognized center of neurosurgical excellence, some incumbent surgeons and

19   staff, including Drs. Cobbs and Mayberg, felt marginalized because of their diminished roles.

20          38.    During 2014, Swedish management had decided to end the pooling system for

21   compensation and to adopt a compensation system based on a surgeon’s own RVUs without any

22   compensation pooling—meaning that Dr. Mayberg (and others) would no longer be paid for surgical

23   care they did not deliver. Ending pooling had a number of benefits, including ensuring that

24   physicians’ compensation did not depend on a patient’s ability pay, and also ensuring that surgeons

25   received pay for what they did without having it siphoned off by surgeons who were not performing
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 1   the work.    The change in compensation method was adopted and implemented by Swedish

 2   management, not by Dr. Delashaw, though he also believed it was best to align financial reward with

 3   high quality surgical work.

 4          39.     The end of pooling produced unfavorable financial results for Dr. Mayberg. He was

 5   no longer being paid for surgeries he did not perform. A parallel development also affected his

 6   compensation—a change in leadership.

 7          40.     In early 2014 at a meeting of surgeons at the Washington Athletic Club, it was

 8   reported that Swedish management was planning to change or end the existing medical directorships.

 9   The following month at a faculty meeting, Dr. Mayberg was questioned about how much he was

10   drawing as an administrative salary. In mid-2014 Swedish management removed Dr. Mayberg as

11   the medical director of SNI.

12          41.     Between losing his position as medical director of SNI and the elimination of the

13   pooling compensation system, Dr. Mayberg’s annual compensation dropped from $1.16 million to

14   about $360,000 (subject to his ability to increase it by doing more work). Dr. Mayberg associated

15   both decisions with Dr. Delashaw even though both decisions were made by Swedish management.

16          42.     Around this time, Dr. Mayberg and his longtime colleague, nurse Mary Fearon,

17   former Director of Perioperative Services, began encouraging SNI nurses to file anonymous

18   complaints against Dr. Delashaw, taking advantage of the resentment a few of the SNI staff,

19   including nurses, felt as a result of the many changes in pace and intensity that accompanied SNI’s

20   transformation from a community hospital to a neurosurgical powerhouse.

21          43.     In November 2014, Dr. Delashaw presented his strategic vision for SNI at a faculty

22   meeting. Around a month later, in December and during a meeting at the Seattle Science Foundation,

23   Providence / Swedish leadership informed SNI that Dr. Delashaw would assume the leadership role

24   of Chairman of SNI, which he did on or about April of 2015. From that date forward—over 22

25   months before the Times articles—Dr. Delashaw was paid based on his SNI salary and did not
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 1   benefit financially from performing a large volume of surgeries.2 Although Dr. Mayberg remained

 2   at SNI, Mary Fearon left in May 2015 after being advised by Swedish management that she was

 3   being uncooperative in scheduling Dr. Delashaw’s operating room time and that complaints she had

 4   recently had submitted about SNI were not credible.

 5          44.     After he became Chairman, Dr. Delashaw took several actions to improve quality of

 6   care, transparency, and accountability. Dr. Delashaw implemented more robust quality review

 7   processes designed to find and correct quality problems. Dr. Delashaw routinely attended and

 8   presented at the specialty conferences at SNI, including the Tumor Board, Cerebrovascular

 9   Conference, Mortality and Morbidity Conference, and Grand Rounds.                   Dr. Delashaw also

10   established a formal Patient Outcome and Quality Review Committee in September 2015 to

11   formalize the collection of detailed data on morbidity and mortality at SNI—i.e., to get objective

12   data that would enable SNI to improve performance and results (which were already high).

13          45.     Dr. Delashaw also implemented a method of choosing the best aneurysm treatment

14   for each patient—a method that was designed to be objective and to avoid any individual bias for

15   “clipping” vs. “coiling,” which could otherwise be influenced by the expertise a particular surgeon

16   had for one method. Instead, this plan called for each patient’s case to be reviewed either by one

17   surgeon who specialized in coiling and one who specialized in clipping, or by at least two surgeons,

18   one of whom was proficient in both methods.

19          46.     With Dr. Delashaw’s encouragement, SNI also hired Dr. Cameron McDougall, one

20   of the country’s leading authorities in aneurysm treatments. Dr. Delashaw was not an advocate for

21   a particular method of aneurysm treatment; he was an advocate of choosing the right aneurysm

22
     2
23    Dr. Delashaw had been traveling regularly to Alaska to care for patients there and had been
     compensated on a per diem basis for doing so. After he became Chairman in April 2015, he
24   arranged for SNI to hire two surgeons to take his place. Dr. Delashaw may have been paid a small
     sum after April 2015 for his Alaska work.
25
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 1   treatment.

 2          47.     Dr. Delashaw also revamped the referral process so that general referrals—meaning

 3   referrals to SNI vs. referrals to individual surgeons—were allocated to the right surgeons equitably

 4   and openly. The first step was to require that all general referrals—sometimes called “indirect”

 5   referrals—came to him as the leader, for distribution to the appropriate surgeon. To assure complete

 6   objectivity, in July 2016, he assigned Dr. McDougall to preside over the allocation process, with the

 7   results published so that all of the neurosurgeons were aware of them. This transparent practice is

 8   used at hospitals across the country, but, like some of the other reforms at SNI, it replaced an existing

 9   practice that allowed certain doctors to “cherry pick” referrals for their own benefit. One of these

10   doctors was Dr. Cobbs.

11          48.     When Dr. Cobbs joined SNI in August 2013 as the Director of SNI’s Ivy Center for

12   Advanced Brain Tumor Treatment, he thought that he should receive all brain tumor surgery referrals

13   to SNI. After the reform of the allocation process, Dr. Cobbs was not receiving all brain tumor

14   referrals, and he grew unhappy about his compensation. Even though Dr. Cobbs negotiated a

15   $300,000 research incentive bonus with Dr. Delashaw, he objected to his compensation level and

16   complained that the objective and transparent new referral system constituted “poaching patients.”

17          49.     Dr. Cobbs associated Dr. Delashaw with his resentment over his compensation. The

18   new systems were in fact aligned with similar practices at other large hospitals, were designed to

19   improve patient outcomes, and were based on objective, transparent criteria. Like Dr. Mayberg, Dr.

20   Cobbs had benefited financially from an inferior system and he resented the doctor who had properly

21   used his authority to implement the improvements.

22   C.     Dr. Mayberg and Dr. Cobbs Plot Their Attack on Dr. Delashaw

23          50.     Drs. Mayberg and Cobbs made an agreement to implement a plan to destroy Dr.

24   Delashaw’s reputation in order to secure his termination, or at least his removal from his leadership

25   role at SNI. They did so because they resented their loss of income and authority—losses that
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 1   resulted from changes highly beneficial to patients. So they made a deal—a conspiracy—and set

 2   out to accuse Dr. Delashaw of endangering patients. This conspiracy is in writing, as are the plans

 3   for launching a series of attacks on Dr. Delashaw which included falsifying complaints, following a

 4   lawyer’s advice on how best to induce SNI management to get rid of Dr. Delashaw, and, ultimately,

 5   led to lying under oath to conceal their activities.

 6          51.     One of the Cobbs/Mayberg tactics was to abuse the SNI anonymous complaint

 7   system, which had been created to enable those with legitimate concerns to express them without

 8   fear of retaliation. In January 2016, Dr. Mayberg filled out an anonymous facilities complaint

 9   against SNI and sent it to the Department of Health from the Park Postal store in the Madison Park

10   neighborhood of Seattle. The complaint asserted that numerous other complaints had been made

11   anonymously about “inappropriate surgeries, increase in complications and infection rates,

12   unsupervised surgery and critical care by neurosurgical fellows” and that “attempts to mitigate or

13   resolve these issues have been unsuccessful” leading to “widespread resignations.” These claims

14   were fabricated by Dr. Mayberg. His anonymous complaint was investigated and evaluated by the

15   Department of Health in July 2016. In its summary of findings and conclusions, the investigator

16   found with respect to every allegation: “not substantiated due to lack of evidence.”

17          52.     Much later, Dr. Mayberg sought to conceal that he was the author of the anonymous

18   complaint. In May 2017, the Washington State Medical Quality Assurance Commission (MCAQ)

19   suspended Dr. Delashaw’s license to practice medicine. Dr. Mayberg had been highly instrumental

20   in bringing about this suspension. In the MCAQ proceeding, Dr. Mayberg’s deposition was taken

21   by Dr. Delashaw’s lawyer, who asked him about the anonymous complaint. Dr. Mayberg lied at his

22   deposition of December 18, 2017. When he was directly asked, “Did you send that complaint in

23   January 2016?” he stated, “I did not.” After Dr. Mayberg was visited by the FBI and retained a

24   lawyer with expertise in criminal matters, he, in a later deposition, testified that he had lied under

25   oath on December 18, 2017, and admitted that he was the author of the complaint. Dr. Mayberg was
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 1   so committed to the course of action that he and Dr. Cobbs had adopted to destroy Dr. Delashaw that

 2   he committed perjury in order to sustain it and conceal his part in it.

 3          53.     The abuse of complaints was not limited to Dr. Mayberg’s anonymous January 2016

 4   complaint. In March 2016, in an anonymous complaint to the Medical Commission, a complainant

 5   said that on December 21, 2015, “Dr. Delashaw threw a phone at a nurse in the OR. The phone was

 6   shattered. The nurse involved was Trish Flett. She was very upset at the incident. Dr. Delashaw

 7   then went to the OR control desk and screamed at Deborah DesJardin-Rowland the charge nurse and

 8   threatened her job.”    The Medical Commission began an investigation of this phone/yelling

 9   complaint, assigning it a low priority (Priority B). This incident also was a fabrication: the head of

10   Human Resources at SNI and two doctors who had worked with Dr. Delashaw on the day in question

11   signed sworn declarations that they had not witnessed Dr. Delashaw throw anything in the OR or

12   yell at any of the staff, and were not aware of any reports of Dr. Delashaw throwing anything in the

13   OR or yelling at any of the staff.

14          54.     Like Dr. Mayberg, Dr. Cobbs harbored resentment over compensation issues that

15   underlay his actions against Dr. Delashaw. In the fall of 2016, after learning that other surgeons did

16   not have production caps in their contracts as he did, Dr. Cobbs attempted to renegotiate his

17   compensation structure with the Swedish administration to enable him to make more money, but he

18   failed. Dr. Cobbs was still offended by the improved system for cranial referrals that led to a decline

19   in his referrals. In his own words, he decided to go “nuclear and kick the hornets nest,” believing,

20   as he stated, that Dr. Delashaw was responsible for the decline in his referral practice, and thus his

21   income.

22          55.     Unaware of the plot swirling around him, Dr. Delashaw continued to work to improve

23   and expand SNI. On October 22, 2016, Swedish held its gala, raising over $6 million in fundraising

24   for its various initiatives, many of which were driven by Dr. Delashaw and his cadre of surgeons.

25   The event was a watershed moment for Dr. Delashaw and those working together to promote SNI to
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 1   the forefront of neurosurgery. While speaking at the event, Dr. Delashaw reminded SNI’s supporters

 2   that its goal was nothing less than to cure paralysis.       The evening reflected the significant

 3   achievements of SNI in the few years since Dr. Delashaw’s arrival.

 4          56.    As Dr. Delashaw solidified his leadership position, Drs. Cobbs and Mayberg and a

 5   few other disgruntled surgeons continued to conspire to bring him down and escalated their

 6   campaign against him. They lobbied other SNI surgeons to sign a letter of complaint against Dr.

 7   Delashaw. As part of the Mayberg/Cobbs conspiracy, Cobbs sought outside advice on the types of

 8   claims to make that would be best calculated to undermine the confidence of Swedish management

 9   in Dr. Delashaw. In an email dated November 1, 2016, Dr. Cobbs explained:

10          I just spoke to a very experienced hospital administrator . . . . We need to change the tone of
            our letter. We need to minimize the focus on Johnny stealing cases and other gripes. . . .
11          It will be critical to include (Providence CEO) Rod Hockman [sic] and Mike Butler in the
            letter. And, to [knock it] out of the park we need to send it to the Board of Providence
12
            57.    In fact, Dr. Cobbs has stated that he never witnessed disruptive behavior by Dr.
13
     Delashaw in the operating room and had never reported him for safety concerns to the Department
14
     of Health. Dr. Cobbs’ actual reasons for resenting Dr. Delashaw had to do with Dr. Cobbs’ decreased
15
     income (for which Dr. Delashaw had no responsibility). But Dr. Cobbs heeded the advice of the
16
     hospital administrator to stop talking about what was really motivating him—money—and start
17
     inventing stories that would be troubling to SNI management.
18
            58.      As part of his and Dr. Mayberg’s refocused effort, Dr. Cobbs consulted a lawyer,
19
     who advised that the way to inflict maximum damage on Dr. Delashaw’s standing at SNI and
20
     potentially have him removed was to generate the kinds of complaints that would worry Swedish
21
     management. On November 1, 2016, Dr. Cobbs wrote an email to Dr. Ryder Gwinn, Dr. Rod
22
     Oskouian, and Dr. Jens Chapman. In the email, Dr. Cobbs did not suggest that the problems
23
     identified actually existed, only that they were the types of complaints that would undermine Dr.
24
     Delashaw with SNI management:
25
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 1             Hey guys I have an amazing attorney who’s gonna look over the document. He’s my
               best friend from college and was number one at Harvard Law school and he’s also a
 2
               really good friend of Ed Laws.3 First of all he wants to make sure that that message
 3             I sent out from Ed Laws goes nowhere and I told him I would say that. Secondly I
               need someone to send me right now the latest version of the cover letter and the other
 4             stuff. He knows exactly what we are dealing with and he said the critical issue is
               not necessarily what we believe is our complaints but what Will make the
 5             corporate people squirm. These types of things include evidence of workplace
               violation of intimidation, female stress, etc. and even worse cover-up of any quality
 6             metrics etc. We need to get our act together make sure we have access to
               documentation of these types of issues. Please send me the latest version now and I
 7             will send it to him ASAP.
 8             59.     In another e-mail sent a few hours later, Dr. Cobbs reiterated the plan of, first,
 9   identifying the kinds of issues that would worry management, and then cooking up allegations of
10   such incidents:
11             The off the cuff response of my lawyer friend is we can cry all we want, but the
               administration may feel culpability and thus maintain a defensive posture. He said
12
               it’s extremely important that we list things that are concrete violations of law such as
13             work place discrimination, discrimination based on sex, suppression of quality
               control efforts, etc. He hasn’t evaluated our letter yet but I’m hoping he can find
14             concrete terms that we can list (1, 2, 3, etc) that are considered nuclear bombs to the
               administration [and] which will make them think carefully about pushing back.
15
               60.     In short, Dr. Cobbs, with the help of a non-Swedish hospital administrator and a
16
     lawyer, started by identifying the kinds of complaints that would worry SNI management and then
17
     set about inventing them. Dr. Cobbs was hoping the lawyer could “find concrete terms that we can
18
     list” that are considered “nuclear bombs.” The documents that Drs. Cobbs and Mayberg later
19
     generated were the product of this plan: find the accusations that will worry management and make
20
     those accusations—without regard to whether there was any truth to them.
21
               61.     Over the coming weeks, Dr. Cobbs put the attorney’s plan into action by repeatedly
22
     disparaging Dr. Delashaw in letters designed to make the Swedish “corporate people squirm.” In
23
     these letters, he falsely stated that he was expressing the “unanimous” views of SNI’s faculty and
24

25   3
         Ed Laws is the Director of the Pituitary and Neuroendocrine Center at Brigham and Women’s Hospital.
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 1   falsely accused Dr. Delashaw of endangering patient safety and harming SNI’s financial condition.

 2   In a later deposition, when asked what he thought ‘unanimous” meant Dr. Cobbs initially said it was

 3   more than fifty percent and then testified that “I don’t know exactly what ‘unanimous’ means . . . .”

 4   In fact, Dr. Cobbs’ fellow surgeons refused to sign the letter of so-called unanimous complaints and

 5   an SNI administrator has testified that the Cobbs’ materials purporting to summarize the events at

 6   the meeting of surgeons are not accurate. But Dr. Cobbs persisted in widely distributing these false

 7   materials.

 8          62.     Drs. Cobbs and Mayberg also continued to lobby their fellow neurosurgeons against

 9   Dr. Delashaw. Using their wives’ e-mail accounts, they exchanged drafts of a “Game Plan” to

10   achieve their goal of “accomplish[ing the] resignation of JD [Johnny Delashaw].” Their plan was

11   not driven by concerns for patient safety but was designed to destroy Dr. Delashaw’s reputation and

12   his standing at SNI. Following the attorney’s advice to try to develop claims that would make

13   Swedish management “squirm,” Drs. Cobbs and Mayberg urged their colleagues to join them in

14   refusing to negotiate with Providence or with the other surgeons, in blocking discussion on issues

15   that would not support their goal of removing Dr. Delashaw, and in taking whatever action would

16   ensure that Dr. Delashaw would immediately lose all authority at SNI.

17          63.     These plans authored by Drs. Cobbs and Mayberg would also—once Dr. Delashaw

18   was out of the way—have allowed them to advance their compensation and professional stature at

19   SNI—the financial and professional ambitions that had motivated them to seek advice on how best

20   to attack Dr. Delashaw.

21          64.     Drs. Cobbs and Mayberg saw the wisdom of concealing their actual (financial)

22   motives for seeking Dr. Delashaw’s removal. As Dr. Cobbs put it: “if we look like we are doing

23   this for greed it will make our case weaker.” So Dr. Cobbs recommended instead laying out “a

24   clear case that we are doing this for the benefit of the common good and the Institute.”

25          65.     On November 17, 2016, Dr. Cobbs broadcast his criticisms of Dr. Delashaw to
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 1   Swedish executives and falsely stated that “[a]lmost all” of SNI neurosurgeons supported his views.

 2   This was false. Dr. Cobbs claimed that other surgeons had declined to sign his letter for fear of

 3   retaliation, but in fact they did not support it. Within a week, Dr. Cobbs’ false report of a consensus

 4   on the (false) claims about Dr. Delashaw was sent to dozens of Swedish employees through an

 5   anonymous email sent from a Gmail account using the pseudonym jbartsolo@gmail.com. The email

 6   was calculated to make the corporate types squirm: its subject line was “Cherry Hill is not safe for

 7   patient care with Dr. Delashaw in a leadership role” and it demanded Dr. Delashaw’s resignation

 8   while asserting that he had “all the hallmarks” of being a “high-functioning psychopath[].”

 9          66.     The Times reported these internal SNI communications that were obviously, and

10   improperly, provided to the Times, and formed a cornerstone of its “investigation” of SNI.

11   D.     The Times Claimed that in an “Investigation” It Found that Dr. Delashaw and Others
            Were Engaging in “Concurrent Surgeries” and that Dr. Delashaw Was Neglecting
12          and Endangering Patients because He Was Paid Based on Volume.

13
            67.     Beginning on February 10, 2017, the Times published a series of articles accusing
14
     SNI in general, and Dr. Delashaw in particular, of endangering neurosurgical patients.
15
            68.      One such practice, according to the Times, was “concurrent surgeries.” Concurrent
16
     surgeries are surgeries in which the critical portions of each operation occur simultaneously despite
17
     being led by the same doctor. The Times claimed that Dr. Delashaw was motivated to perform
18
     “concurrent surgeries” because he was paid on a piecework basis—the more surgeries he could
19
     perform in a day, the more money he made. The Times claimed that Dr. Delashaw’s greedy pursuit
20
     of volume placed patient care in jeopardy.
21
            69.     Specifically, the Times published the following false and/or misleading statements in
22
     “The O.R. Factory,” written by Mike Baker and Justin Mayo and published on February 10, 2017
23
     (all emphasis added):
24          a)      “The doctors in the neuroscience unit are incentivized to pursue a high-volume
25                  approach with contracts that compensate them for large patient numbers and
                    complicated surgical techniques.”
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            b)      “In the past, the SNI surgeons pooled a portion of their pay and redistributed it among
 1                  each other. It was a system designed to encourage doctors to pass along patients to
                    their peers when they thought a co-worker might be a better specialist to handle the
 2
                    patient’s procedure. In some surgical settings, all income is pooled this way.”
 3
            c)      “. . . Providence and Swedish had overhauled the way Cherry Hill’s neuroscience
 4                  program approaches the business of medicine, enriching the nonprofit institution
                    and its star surgeons.”
 5
            d)      “The revised contracts at Cherry Hill’s SNI program ended the pooling system,
 6                  according to records and interviews. Surgeons would be paid almost entirely on
                    their production, as measured by Relative Value Units, or RVUs.”
 7
            e)      “The top two doctors—[including] Delashaw—each exceeded $75 million in
 8                  billed charges, almost $25 million more than the state’s nearest brain and spine
                    surgeon outside of the SNI group.”
 9
            f)      “But the aggressive pursuit of more patients, more surgeries and more dollars
10                  has undermined Providence’s values—rooted in the non-profit’s founding as a
                    humble home where nuns served the poor—and placed patient care in jeopardy, a
11
                    Seattle Times investigation has found.”
12
            g)      “The hospital touts its star surgeons to draw patients from hundreds of miles away,
13                  but six current and former staffers said those doctors will sometimes do little in
                    the operating room once the patient is under anesthesia. Instead, the surgeons will
14                  leave less-experienced doctors receiving specialized training to handle parts of a
                    surgery. That allows the primary surgeons to be in another operating room—a
15                  practice known as ‘concurrent surgery’—to maintain high volumes. It is not
                    prohibited but can test the limits of Medicare rules.”
16
            70.     In summary, the Times reported that its “investigation” had revealed that Dr.
17
     Delashaw and other “star surgeons” “are incentivized” to maximize volume because they are “paid
18
     almost entirely on their production” and that, for this reason, Dr. Delashaw and other surgeons were
19
     engaging in “concurrent surgeries” to increase volume and make more money. The Times reported
20
     that, in order to increase volume and thus income, Dr. Delashaw was leaving important surgical tasks
21
     to less experienced doctors—i.e., he and others “do little in the operating room once the patient
22
     is under anesthesia,” leaving less experienced doctors to “handle parts of the surgery.” The Times
23
     said that these alleged ongoing practices “placed patient care in jeopardy.”
24
            71.     Each of these claims is false.
25
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 1          72.     Dr. Delashaw was on salary during the majority of his time at SNI, including the

 2   approximately two-year period of rapidly increasing surgical volume ending when he resigned in

 3   early 2017. The fundamental predicate for the Times’ attack—volume-based compensation of Dr.

 4   Delashaw that was motivating him to race through surgeries endangering patients—was false.

 5          73.     The Times published a chart in an effort to show that Dr. Delashaw’s surgical volume

 6   rose as a result of the “aggressive pursuit of more patients, more surgeries and more dollars.” The

 7   chart shows that for the calendar year 2015 Dr. Delashaw had over $76 million in “billed charges,”

 8   placing him among the “state’s top six brain and spine surgeons” and meaning he brought in $25

 9   million more than “the state’s nearest brain and spine surgeon outside of the SNI group.” The chart

10   was intended to establish high surgical volume resulting from being “paid almost entirely on [his]

11   production,” but it demonstrates the opposite. Effective April 2015, Dr. Delashaw was placed on a

12   fixed salary and assumed his duties as Chair of SNI’s Neurosurgical Division. For seventy-five

13   percent of 2015 he had no financial incentive to work as hard as he did. He remained on a fixed

14   salary through 2016 and until his departure in 2017. The chart shows that Dr. Delashaw worked

15   very hard even though doing so did not increase his income.

16          74.     There were no “concurrent surgeries.” The Times knew that Dr. Delashaw did not

17   engage in this practice. Dr. Delashaw’s colleague told the Times, and confirmed in writing, that he

18   was a meticulous surgeon who performed every critical part of every operation himself—based on

19   participating with him in hundreds of operations—but the Times disregarded this compelling

20   information.

21          75.     The Washington State Department of Health later confirmed what Dr. Delashaw’s

22   colleague had told the Times: concurrent surgeries did not happen. The DOH investigated the

23   Times’ claims, interviewing 127 witnesses and publishing a 135-page report. The DOH found:

24

25
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              “In the concurrent surgeries, it was alleged the attending surgeon was not available
 1            or present during critical portions of the surgery. Concurrent surgeries by attending
              surgeons were not substantiated.”4
 2
              76.    Finally, the claim that these non-existent practices placed patient care in jeopardy is
 3
     false. SNI’s surgical outcomes did not decline during Dr. Delashaw’s tenure, even though its
 4
     surgeons were performing the most difficult operations, as explained further in the next Section.
 5

 6   E.       The Times Misrepresented Patient Outcomes as Poor When Objective Data the Times
              Had in Its Possession Showed that They Were Excellent.
 7            77.    The Times’ repeatedly claimed that Dr. Delashaw’s and other SNI top surgeons’ use
 8   of “concurrent surgeries” (false) and premature departures from the operating room (false) in pursuit
 9   of more money (false) resulted in “endangering patients.” Dr. Delashaw and other SNI surgeons
10   took good care of their patients, and the results prove it.
11            78.    Instead of using the available relevant, reliable data, the Times published non-
12   indicative data and twisted it to support its story. The Times claimed in “The OR Factory”:
13
              “Among 10 patient safety indicators published by the federal government, Cherry
14            Hill ranked below national levels in three areas in the data through the middle of
              2015: blood clots after surgery, collapsed lungs and serious complications.”
15

16            “In benchmarks tracked by the federal government, Cherry Hill was flagged for
              having high rates of blood clots, collapsed lungs and serious surgical complications.”
17            (Emphasis added.)

18            79.    “Cherry Hill” refers to the location of several Swedish Hospital facilities and is often

19   contrasted with “First Hill.” The statistics the Times reported regarding “blood clots after surgery”

20   and “serious complications” covered many Swedish facilities located on “Cherry Hill,” including

21   Medicine, the Intensive Care Unit, and the cardiovascular center. The Times cited these statistics as

22   supporting its claim that Dr. Delashaw and other SNI surgeons were “endangering” patients at SNI,

23   using data that did not reflect SNI’s outcomes.

24
     4
         2017 Investigative Report, On-Site State and Federal Hospital Investigation, Swedish Medical
25       Center-Cherry Hill, (“Investigative Report”) at 10 (Aug. 7, 2017).
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 1           80.     According to data relating to SNI’s performance generated by a national firm on

 2   which hospitals across the country rely—Premier Quality Advisor (Premier)—SNI’s outcomes were

 3   better than institutions of comparable size across the United States. Premier analyzes and

 4   benchmarks patient outcomes using information from 3,750 major hospitals and closely monitors,

 5   records and compares mortality and other factors. SNI’s numbers during the relevant period, as

 6   calculated by Premier, show consistently excellent patient outcomes compared to its peer

 7   institutions.

 8           81.     For example, Premier uses its extensive database to set an expected mortality rate—

 9   that is, the mortality rate one can anticipate from “normal” competent care. This expected mortality

10   rate is then compared to the actual rate at a particular facility such as SNI. The comparison is called

11   an “Observed/Expected” (O/E) ratio, which describes how the actual (observed) rate compares to

12   the norm (expected). An O/E mortality rate of one means the actual mortality rate was the same as

13   the expected mortality rate. Less than one means the performance was better than expected.

14           82.     Specific to SNI, the objective data covering more than 2,800 cases confirms that their

15   patient outcomes were better than expected using the national benchmark data. For example, for

16   SNI cranial and spinal cases generally, as well as for Dr. Delashaw specifically, the

17   Observed/Expected mortality rate was below one—meaning mortality was at a lower rate than

18   expected for the procedures in question.

19           83.     The DOH also investigated the Times’ claims that patients were endangered in

20   connection with SNI’s expansion and found no basis for them. The DOH carefully assessed

21   outcomes during the period of expansion and determined that patient outcomes remained excellent

22   (all emphasis added):

23           “A review of the quality data for the Swedish Neurosciences Institute from 2012 –
             2017 did not reveal an increase in surgical complications and infections. The
24

25
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               quality data was obtained from the electronic medical record and benchmarked
 1             externally.”5
 2
                “A review of medical records of hospital deaths for patients undergoing spine and/or
 3             cranial surgery in 2014 and 2015 was undertaken. This did not reveal any patterns
               or trends regarding quality of care.”6
 4

 5             84.     According to the DOH findings, SNI maintained a high quality of patient care while

 6   undergoing a major increase in patient referrals from other hospitals and other increases in the

 7   number and complexity of neurosurgical procedures. The objective facts are the opposite of the

 8   Times’ claims.

 9
     F.        The Seattle Times Misrepresented the Reasons for and Results of SNI’s Expansion.
10
               85.     The Times’ claims that Dr. Delashaw was paid based on volume and as a result had
11
     delivered shoddy patient care were false. But the Times did not simply misrepresent what occurred;
12
     it misrepresented the motivation for and the results of the SNI expansion—and in the process it also
13
     completely missed the real SNI story while inflicting massive damage to the results that had been
14
     achieved and the people who achieved them.
15
               86.     As set forth above, SNI recruited Dr. Delashaw in an effort to realize the full potential
16
     of SNI—which was to become a mecca for outstanding neurosurgery. One goal was to join forces
17
     with SSF and take advantage of its depth in technological expertise.
18
               87.     Dr. Delashaw’s part of this effort included bringing his own exceptional skills to bear
19
     while also helping to recruit the very best surgeons from all over the United States to Seattle and to
20
     SNI. Part of the lure—the same lure that brought Dr. Delashaw to SNI in 2013—was the opportunity
21
     to participate in revolutionizing neurosurgical care by working with outstanding surgeons and with
22

23

24   5
         Investigative Report, at 4.
25   6
         Investigative Report, at 4.
                                                                                            LAW OFFICES
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 1   Seattle’s tech community on cures that surgery alone cannot achieve, and having the opportunity to

 2   communicate new techniques around the world using the facilities of SSF.

 3          88.       The volume of surgical work at SNI rose steeply in 2014 through 2016. This increase

 4   did not cause any decline in excellent care; it occurred largely because of excellent care combined

 5   with technological advances, expansion of operating spaces, and a resulting increase in referrals.

 6   By 2016, SNI was attracting referrals from ten times the number of hospitals that were referring

 7   tough cases to SNI before Dr. Delashaw arrived. Dr. Delashaw and his colleagues were in the midst

 8   of achieving the goal that had attracted him to Seattle and, at the gala in October 2016, raised over

 9   $6 million to continue SNI’s growth and depth.

10          89.       A key part of the expansion was to attract very capable surgeons. For example, before

11   2013, SNI had one open aneurysm surgeon and two interventional practitioners. By the summer of

12   2016, SNI had on staff two open aneurysm surgeons, two interventional practitioners, and two

13   neurosurgeons versed in both techniques. This increase in numbers was also an increase in depth:

14   there were more surgeons who were skilled in each of the two major techniques, making it easier to

15   match a patient’s condition with the right surgeon.

16          90.       Other reasons for the increase in SNI’s surgical volume included Providence Health

17   & Services’ acquisition of Swedish Medical Center in 2011, which broadened SNI’s referral base

18   significantly. By 2016, SNI was the referral center for hospitals across five states in the Northwest.

19   A third factor leading to volume increase was the Affordable Care Act, which brought patients to

20   SNI who had previously been untreated, leading to an influx of cases made more challenging by

21   prior neglect.

22          91.       The truth about SNI expansion is the opposite of the Times’ reporting: the real SNI

23   story is one of remarkable achievement. Its increased volume of difficult neurosurgical cases

24   resulted mainly from high—not low—quality. The Times’ claims of greed-driven volumes resulting

25   in patient neglect are not simply false; the truth is precisely the opposite. But the Times’ false
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 1   reporting has severely undermined an achievement in high-quality neurosurgical care that was of

 2   great value to the Puget Sound region and the western United States.

 3   G.        The Times Falsely Claimed that the Pursuit of “More Dollars” “Placed Patient Care in
 4             Jeopardy” because of “Massive Caseloads” and Excess Burdens on Staff, Including
               “20-Hour Days.”
 5
               92.     The Times reported:
 6
               “[T]he aggressive pursuit of more patients, more surgeries and more dollars”
 7             resulted in “massive caseloads” for “medical staffers from the operating room
               to the intensive-care unit [which has] forced some nurses at Cherry Hill to be on
 8             duty for 20 hours in a day. . . . It’s not uncommon to see some nurses who support
 9             Cherry Hill’s operating-room work 20 hours in a 24-hour period, said Knapp, despite
               research showing that long shifts can lead to more mistakes.”
10             93.     These Times’ claims were false. The Department of Health investigated them,
11   interviewing 127 witnesses, and found “no evidence that staff worked beyond their scheduled
12   hours or that staffing levels were below recommended staffing guidelines.”7
13
     H.        The Times Falsely Claimed that Dr. Delashaw Engaged in Unnecessary Surgical
14             Procedures and did so to Increase his Income.

15             94.     The Times cited data from Dr. Delashaw’s time at UC Irvine and SNI as evidence

16   that he performed the clipping procedure to generate profit.

17             95.     The Times reported:
18
               a)      “When Delashaw moved to the Cherry Hill hospital in Seattle, that campus
19                     jumped from 36 percent of cases getting a clip in 2012 to 57 percent in 2014.
                       The statewide average remained under 40 percent during that same time.”
20
               b)      “A Seattle Times analysis of patient data shows dramatic shifts in aneurysm
21                     treatment as Delashaw moved between jobs. Before his 2012 arrival at UC
                       Irvine, the university’s medical center performed clipping surgery in only
22
                       about 13 percent of cases. After Delashaw’s arrival, 62 percent of aneurysm
23                     patients undergoing treatment at Irvine received a clip — the highest rate
                       among California hospitals who had at least 20 aneurysm cases, according to
24                     state data analyzed by The Times.”

25   7
         Investigative Report, at 6 (emphasis added).
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 1           96.     When Dr. Delashaw arrived at UC Irvine, a number of aneurysm referrals followed

 2   him and he performed approximately 60 clipping procedures in his first few months, which were

 3   completed with a mortality rate of 0%. The Times omitted this information, which demonstrates the

 4   complete falsity of the claim that, under Dr. Delashaw, the choice of aneurysm treatments was driven

 5   by profit rather than by patient care.

 6           97.     The Times extensively described the clipping procedure for aneurysms and

 7   repeatedly stated or implied that the clipping procedure was unnecessarily invasive and/or was

 8   performed because it was more costly and would line the pockets of the surgeons. The Times made

 9   no effort to find out or report to its readers on the reasons that clipping is often the best treatment for

10   particular patients, and avoided any mention of the objective system SNI had instituted to make sure

11   that the right procedure was chosen for each patient.

12           98.     One important factor in choosing clipping is that it is less likely than coiling to require

13   further treatment at a later time. SNI’s patient base was geographically widespread and included

14   remote areas of Alaska. After arriving at SNI, Dr. Delashaw contracted with the Alaska Native

15   Tribal Health Consortium, traveled to and worked in Alaska, and developed a strong referral base in

16   Alaska. For a patient with an aneurysm that requires follow-up, as coiling often does, avoiding

17   multiple arduous trips from Alaska to Seattle can be a life-saving factor in itself. For these far-flung

18   patients, the clipping procedure was often the right choice for that reason alone.

19           99.     Dr. Delashaw also established a procedure at SNI that was designed to ensure that

20   the choice of treatment for every aneurysm was reviewed by at least two doctors, including one

21   surgeon capable of clipping and another capable of coiling—in short, the purpose of the system was

22   to ensure that two surgeons with combined expertise in each method made the initial decision

23   regarding which treatment was more appropriate for each patient. In addition, all non-emergent

24   aneurysms (e.g. non-ruptured) were reviewed at a weekly stroke conference attended by SNI faculty

25   (including fellows) which determined the best course of care. In addition, under Dr. Delashaw’s
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 1   leadership, SNI hired Dr. Cameron McDougall, an acknowledged expert in aneurysm treatment who

 2   specialized in coiling.

 3          100.    Instead of reporting the truth, which was that Dr. Delashaw led a concerted effort to

 4   assure rigorous and objective treatment choices for aneurysms, the Times printed a falsehood:

 5          “[Interventional neuro-radiologist Dr. Joe] Eskridge said he and Newell [a surgeon
 6          who handled many aneurysm clippings] often discussed aneurysms to assess whether
            the patient would have better results with a clip or coil procedure. . . . ‘Delashaw
 7          never did that,’ said Eskridge . . . .”

 8   Dr. Delashaw went beyond “discussing” the treatment choice; he implemented a rigorous

 9   system for making the best choice in each case.

10   I.     The Main Claims the Times Made in Its Articles Were False and the Conclusions the
            Times Presented Were Based on Claims the Times Knew Were False.
11
            101. A fundamental falsehood in the Times articles about Swedish hospital was the claim
12
     that its reporting resulted from an “investigation.” It did not. No investigation would have failed to
13
     uncover that in the period on which the articles focused Dr. Delashaw was not pursuing “more
14
     surgeries, more dollars” because he was paid based on volume; he was not. A request for his
15
     contract—or a simple question—would have shown that during the nearly two years preceding
16
     publication of the Times’ articles, Dr. Delashaw was on salary. The Times also deliberately ignored
17
     and withheld from its articles highly reliable information showing that no “concurrent surgeries”
18
     were taking place at SNI—as the DOH later determined—but instead falsely reported that Dr.
19
     Delashaw (and others) were making brief appearances in the OR and then leaving for another
20
     ‘concurrent” surgery once the patient was under anesthesia.
21
            102. This claim was refuted by Dr. Prashant Kelkar. Before publishing the first article, the
22
     Times interviewed Dr. Kelkar, a neurosurgeon and fellow at SNI who had worked with Dr. Delashaw
23
     in the operating room at SNI hundreds of times. After the interview, Dr. Kelkar followed up by
24
     sending an e-mail to Mr. Baker of the Times recapping elements of the interview to make sure that
25
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 1   Mr. Baker understood the information Dr. Kelkar had given to him. Dr. Kelkar wrote to Mr. Baker

 2   on February 6, 2017, as follows:

 3          I never had an experience over hundreds of surgeries I performed with him [Dr.
            Delashaw] that he was anything but respectful, courteous and cognizant of his
 4          actions and comments in the OR with nurses/surgical techs/anesthesiologists/
            residents/fellows. He is a well-liked surgeon from every interaction I was a part of.
 5

 6          Dr. Delashaw is a caring, compassionate physician who enjoys practicing
            neurosurgery and takes pride in being “the best” and having good outcomes.
 7
            In my experience over hundreds of surgeries with Dr. Delashaw, he was scrubbed
 8          and actively engaged in the critical part of every surgery without fail.
 9
            There was never an instance where he was unavailable or immediately not present
10          for any surgery.

11          We clarified that the main surgeons including myself operating with Dr. Delashaw
            were highly trained Board Eligible Neurosurgeons at the time. This is a fact that
12          you were not aware of till today.

13          I believe Dr. Delashaw came to SNI well intentioned to grow and develop a
            Neurosciences program beyond the ability of the faculty that was there at the time.
14          His success certainly leads to scrutiny by others around him, whether that be due to
            jealousy, anger, greed, change, or other. Each instance in medicine where I see
15
            someone of power get scrutinized there is always two sides to the story and my ask
16          of you is that you not ruin a good man's career to write a “sexier” story. Please feel
            free to call me at any time for any further follow up.
17
            103.     There is no mention of either the interview or the letter in the Times’ article; instead,
18
     the Times wrote only: “Another former fellow, Dr. Prashant Kelkar, said Delashaw always came in
19
     a timely fashion.” Dr. Kelkar and other neurosurgeons provided Mr. Baker with first-hand accounts
20
     of personal observations of Dr. Delashaw that uniformly and directly contradicted the main
21
     assertions in the Times’ articles. Before the Times went to press, it had been advised by the doctors
22
     who actually operated with Dr. Delashaw that he was always present for the critical portions of
23
     surgeries, that he was invariably responsible in his patient care, and that there was no factual support
24
     for the claims of problematic behavior. After speaking with these doctors, the Times’ reporters
25
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 1   knew, or should have known, that they had been provided “misinformation and bad data” by their

 2   sources.

 3          104.     In the wake of these attacks, Dr. Delashaw was unable to focus on patient care, so he

 4   resigned from Swedish at the end of February 2017.

 5          105.     The false accusations filed against Dr. Delashaw had led to a “Priority B” (low

 6   priority) MQAC investigation starting in March 2016. Over six months later, on October 7, 2016, a

 7   panel of the Medical Commission had authorized only a summary “restriction” of Dr. Delashaw’s

 8   license. As part of the MQAC investigation, SNI had provided statements from surgical fellows and

 9   the head of human resources that showed that the phone-throwing claim was false. As soon as the

10   Times articles came out on February 10, 2017, MQAC did an about face on its low-priority, careful

11   approach to the unsupported claims against Dr. Delashaw. In response to the Times article, State

12   Senator Karen Keiser pressured the MQAC to take swift action. The MQAC’s investigator Stephen

13   Correa had interviewed the surgeons identified in the newspaper article. Those surgeons admitted

14   that they had never seen any disruptive behavior by Dr. Delashaw. But under pressure from Senator

15   Keiser and in the politically charged environment the Times articles had created, MQAC proceeded

16   to suspend Dr. Delashaw’s medical license on the basis that he posed an “immediate risk to the

17   public health and safety” despite the fact that he was no longer practicing. In short, based on the

18   very same evidence that had led to months of inaction followed by a mere restriction of Dr.

19   Delashaw’s license, suddenly, in direct response to the Times’ articles and with no further

20   investigation, Dr. Delashaw was deprived of his license to practice medicine.

21          106.     Discovery in the MQAC proceeding has revealed that Dr. Cobbs and Dr. Mayberg

22   conspired to damage Dr. Delashaw’s reputation and standing in order to effect his removal from his

23   position at SNI; that they intentionally violated their obligations to Swedish in this effort to displace

24   Dr. Delashaw so that they could improve their own professional and financial opportunities; that

25   they did so using their wives’ personal email accounts to avoid detection of their conspiracy; and
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 1   that they lied in order to cover up their actions and committed other abuses of their discovery

 2   obligations in the MQAC proceeding in furtherance of their conspiracy, including making knowingly

 3   false statements under oath, and withholding hundreds of pages of documents that evidenced a

 4   concerted effort to destroy Dr. Delashaw.

 5           107.    The Times’ false claims and the Cobbs/Mayberg conspiracy have destroyed Dr.

 6   Delashaw’s career and have led directly to an unjustified suspension of his license, which has led to

 7   serious “collateral damage.” Dr. Delashaw has a unique skill level in certain kinds of neurosurgical

 8   procedures and patients with conditions few can treat who need continuing care. He has patients in

 9   Longview, Washington, who need his help, for which there is no substitute.

10                                         V.    CAUSES OF ACTION

11                          FIRST CAUSE OF ACTION: DEFAMATION – LIBEL
                                       (AGAINST THE TIMES)
12
            108.     Plaintiff realleges and incorporates by reference the allegations in Paragraphs 1–107
13
     as if stated herein.
14
             109.    On February 10, 2017, and in subsequent articles, the Times published multiple false
15
     statements defaming the character, motivations, and quality of medical care provided by Dr. Johnny
16
     Delashaw.
17
             110.    Those statements were unprivileged.
18
             111.    The Times actually knew or, in the exercise of reasonable care, should have known,
19
     that its statements were false or would create a false impression in a material respect.
20
             112.    Dr. Delashaw is not a public figure. The controversy and his role in it were
21
     manufactured by the Times in an attempt to increase its readership and advertising revenue; to the
22
     extent that Dr. Delashaw subsequently participated in the controversy, he was forced to do so by the
23
     Times’ defamatory statements and the public firestorm they were calculated to create. The Times
24
     also acted with malice; the Times knew the defamatory statements were false, or acted with reckless
25
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 1   disregard for their falsity, when it published them. The Times has continued to publish the false

 2   statements on its website despite its knowledge that the Department of Health investigation reached

 3   conclusions that flatly contradict the Times’ reports about Dr. Delashaw.

 4           113.    The Times’ false statements impugned Dr. Delashaw’s professional reputation and

 5   caused him significant professional injury.

 6           114.    The Times’ abuse of its role as the community’s newspaper of record has proximately

 7   caused and continues to cause massive damage to Dr. Delashaw, including but not limited to extreme

 8   reputational harm and loss of employment opportunities.

 9                  SECOND CAUSE OF ACTION: DEFAMATION BY IMPLICATION
                                   (AGAINST THE TIMES)
10
             115.    Plaintiff realleges and incorporates by reference the allegations in Paragraphs 1–107
11
     as if stated herein.
12
             116.    The Times’ “watch dog” series about SNI, beginning with the article, “The O.R.
13
     Factory,” taken as a whole, created the false impression that Dr. Delashaw was driven by greed to
14
     maximize his income by performing unnecessary surgeries; that he abandoned patients during
15
     surgery in violation of his professional obligations; and that he presided over an “O.R. Factory” that
16
     harmed patients. The Times created this false impression by publishing multiple false statements
17
     about Dr. Delashaw and in part by omitting material facts that were contrary to the Times’ desired
18
     story line.
19
             117.    The Times’ articles, read holistically, created the blatantly false implication that Dr.
20
     Delashaw posed a threat to the very patients he sought to help and the equally false implication that
21
     he should be removed from his leadership position at SNI.
22
             118.    The Times’ articles, read holistically, created the demonstrably false implication
23
     that patient-care outcomes declined during Dr. Delashaw’s tenure at SNI. The Times omitted
24
     material facts that were contrary to its objective of demonizing Dr. Delashaw, including but not
25
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 1   limited to the fact that health outcomes during Dr. Delashaw’s tenure at SNI did not decline; that

 2   Dr. Delashaw’s income was not tied to his surgery volume during the two-year period on which

 3   the Times articles focus; that he never engaged in “concurrent surgeries”; and that he implemented

 4   a process to assure that treatments for patients, including aneurysm treatments, were chosen

 5   objectively in the best interests of the patient.

 6           119.     The Times’ false statements were unprivileged.

 7           120.     The Times knew or, in the exercise of reasonable care, should have known that its

 8   statements were false or would create a false impression in a material respect.

 9           121.     Dr. Delashaw is not a public figure. The controversy and his role in it were

10   manufactured by The Times; Dr. Delashaw’s subsequent participation in the controversy was the

11   result of a controversy created by the Times’ proliferation of its defamatory statements.

12           122.     The Times acted with malice in its false statements and in its omission of material

13   facts because the Times knew the statements it made were false or incomplete, or it exercised so

14   little care in ascertaining the facts that its conduct was reckless and without regard for the truth.

15           123.     The Times’ conduct has proximately caused and continues to cause massive damage

16   to Dr. Delashaw, including but not limited to extreme reputational harm and loss of employment

17   opportunities.

18                           THIRD CAUSE OF ACTION:
             TORTIOUS INTERFERENCE WITH BUSINESS RELATIONSHIP AND/OR
19                                EXPECTANCY
                               (AGAINST THE TIMES)
20
             124.     Plaintiff realleges and incorporates by reference the allegations in Paragraphs 1–107
21
     as if stated herein.
22
             125.     At the time of the conduct at issue, Dr. Delashaw had a business relationship with
23
     Swedish Health Services d/b/a Swedish Medical Group and had a business expectancy arising from
24
     his vast referral base, which extended to the entire United States and to other countries. The referral
25
                                                                                          LAW OFFICES
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 1   base consisted of scores if not hundreds of physicians, clinics and hospitals who knew of and

 2   respected Dr. Delashaw’s exceptional capabilities, devotion to patients, and work ethic, and who

 3   referred neurosurgical patients to him, including those with the most challenging neurosurgical

 4   problems. But for Defendants’ conduct, Dr. Delashaw’s business relationship with Swedish Health

 5   Services would have continued, and his referral base would have continued to operate as it had for

 6   decades, resulting in a steady and very substantial source of patients requiring Dr. Delashaw’s skills.

 7             126.   The Times knew of Dr. Delashaw’s relationship with Swedish Health Services and

 8   of the value, reliability, and importance of his referral base.

 9             127.   The Times intentionally induced or caused the termination of these business

10   relationships and expectancies through its repeated publication of false and defamatory statements

11   about Dr. Delashaw.

12             128.   The Times’ interference was for an improper purpose—to generate a public scandal

13   in order to promote readership of the Times’ “watch dog” series—and was accomplished through

14   improper means, including publication of knowingly false and defamatory statements about Dr.

15   Delashaw.

16             129.   The Times’ conduct was a proximate cause of damages to Dr. Delashaw.

17    FOURTH CAUSE OF ACTION: UNFAIR BUSINESS PRACTICES IN VIOLATION OF
                              RCW 19.86 ET SEQ.
18                          (AGAINST THE TIMES)
19             130.   Plaintiff realleges and incorporates by reference the allegations in Paragraphs 1–107

20   as if stated herein.

21             131.   In its quest to generate a controversy, the Times deceived its readers and the general

22   public.    The Times touted its “watch dog” series as the product of a thorough independent

23   investigation when, in fact, it was not the result of an investigation but was designed to create a

24   scandal about a local hospital. The Times deceived its readers by failing to disclose the actual facts

25   regarding the subject matter of its report, including the fact (known by the Times) that a primary
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 1   source, Dr. Mayberg, acted with a fundamental conflict of interest throughout all of his interactions

 2   with the Times. The Times published deceptive statements regarding Dr. Delashaw and promoted

 3   its false reports through its website, newspaper, and social media as part of a multimedia marketing

 4   strategy in order to maximize the controversy to attract readers to its website to increase its revenue,

 5   and the Times’ false reports remain available today on internet sites across the world.

 6           132.    The Times’ deceptive acts occurred in trade or commerce. The Times’ disparagement

 7   of Dr. Delashaw was a key component of its multi-media marketing strategy to increase the Times’

 8   revenue and notoriety.

 9           133.    The Times’ publication of the false articles is a betrayal of its readers’ trust and

10   profoundly affected the public interest by damaging health care in Seattle. The Times’ false

11   reporting has the capacity to deceive (and did deceive) a substantial portion of the public. The

12   Times’ deceptive acts have resulted in damage to Dr. Delashaw’s reputation, including the

13   unprecedented summary suspension of his medical license in the wake of the Times’ articles. The

14   Times’ false reporting has prevented sick individuals from receiving medical care from Dr.

15   Delashaw and has damaged the quality of health care available in the Seattle area.

16                          FIFTH CAUSE OF ACTION: DEFAMATION – LIBEL
                                         (AGAINST COBBS)
17
             134.    Plaintiff realleges and incorporates by reference the allegations in Paragraphs 1–107
18
     as if stated herein.
19
             135.    Throughout 2016, Dr. Cobbs made multiple false statements, both directly and by
20
     implication, defaming the character, motivations, and quality of medical care provided by Dr. Johnny
21
     Delashaw.
22
             136.    Those statements were unprivileged.
23
             137.    Dr. Cobbs actually knew or, in the exercise of reasonable care, should have known
24
     that his statements were false or would create a false impression in a material respect.
25
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 1           138.     Dr. Delashaw is not a public figure. The controversy and his role in it were

 2   manufactured by Defendants’ conduct; Dr. Delashaw’s subsequent participation and role in the

 3   controversy were a forced response to the Times’ defamatory statements and the publication of Dr.

 4   Cobbs’ defamatory statements. Dr. Cobbs also acted with malice; he knew that his statements about

 5   Dr. Delashaw were false, or acted with reckless disregard for their falsity, when he made them.

 6           139.     Dr. Cobbs’ false statements impugned Dr. Delashaw’s professional reputation and

 7   caused him significant professional injury.

 8           140.     Dr. Cobbs’ conduct has proximately caused and continues to cause damage to Dr.

 9   Delashaw, including but not limited to extreme reputational harm and loss of employment

10   opportunities.

11         SIXTH CAUSE OF ACTION: TORTIOUS INTERFERENCE WITH BUSINESS
                        RELATIONSHIP AND/OR EXPECTANCY
12                               (AGAINST COBBS)
13           141.     Plaintiff realleges and incorporates by reference the allegations in Paragraphs 1–107

14   as if stated herein.

15           142.     At the time of the conduct at issue, Dr. Delashaw had a business relationship with

16   Swedish Health Services d/b/a Swedish Medical Group and had a business expectancy arising from

17   his vast referral base, which extended to the entire United States and to other countries. The referral

18   base consisted of scores if not hundreds of physicians, clinics and hospitals who knew of and

19   respected Dr. Delashaw’s exceptional capabilities, devotion to patients, and work ethic, and who

20   referred neurosurgical patients to him, including those with the most challenging neurosurgical

21   problems. But for Defendants’ conduct, Dr. Delashaw’s business relationship with Swedish Health

22   Services would have continued, and his referral base would have continued to operate as it had for

23   decades, resulting in a steady and very substantial source of patients requiring Dr. Delashaw’s skills.

24           143.     Dr. Cobbs knew of Dr. Delashaw’s relationship with Swedish Health Services and

25   his referral base.
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 1           144.    Dr. Cobbs intentionally induced or caused the termination of these business

 2   relationships and expectancies through his campaign to undermine Dr. Delashaw’s reputation.

 3           145.    Dr. Cobbs’ interference was for an improper purpose—specifically to promote the

 4   ouster of and otherwise inflict harm on Dr. Delashaw—and was accomplished through improper

 5   means, including defamation and Dr. Cobbs’ violation of his obligations to Swedish.

 6           146.    Dr. Cobbs’ conduct was a proximate cause of damages to Dr. Delashaw.

 7                          SEVENTH CAUSE OF ACTION: CIVIL CONSPIRACY
                                        (AGAINST COBBS)
 8
             147.    Plaintiff realleges and incorporates by reference the allegations in Paragraphs 1–107
 9
     as if stated herein.
10
             148.    As alleged in detail above, Dr. Cobbs and Dr. Mayberg acted in concert to destroy
11
     Dr. Delashaw’s reputation and career at SNI by defaming him; tortiously interfering with Dr.
12
     Delashaw’s business relationship with Swedish Health Services, and his business expectancy from
13
     referrals; and through other unlawful means.
14
             149.    Dr. Cobbs and Dr. Mayberg entered into an agreement to accomplish the conspiracy
15
     to destroy Dr. Delashaw’s reputation and career and worked in concert to do so.
16
             150.    Dr. Cobbs and Dr. Mayberg acted on each other’s behalf in furtherance of the
17
     conspiracy.
18
             151.    Dr. Cobbs’ and Dr. Mayberg’s conspiracy was the proximate cause of harm to Dr.
19
     Delashaw, including the destruction of his professional reputation and other damages.
20

21

22

23

24

25
                                                                                       LAW OFFICES
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 1                                        VI.   PRAYER FOR RELIEF

 2           In light of the foregoing, Dr. Delashaw prays for the following:

 3           1.     An order enjoining the Times from publishing false statements about Dr. Delashaw

 4   and requiring that it remove the false statements about Dr. Delashaw from its website and publish a

 5   retraction;

 6           2.     An order enjoining Dr. Cobbs from making false statements about Dr. Delashaw;

 7           3.     Monetary damages in an amount to be proven at trial, including an award of

 8   prejudgment interest in an amount to be proven at trial;

 9           4.     Reasonable costs, disbursements, attorney’s fees, and prejudgment interest on all

10   liquidated costs and expenses of litigation and additional taxes resulting from the payment to

11   Plaintiff of all of the foregoing; and

12           5.     Any such further relief as the Court deems just and equitable.

13           RESPECTFULLY SUBMITTED this 11th day of April, 2018.

14                                                  HARRIGAN LEYH FARMER & THOMSEN LLP

15
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